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                                                                                             7   Counsel for Shelley D. Krohn, Chapter 7 Trustee

                                                                                             8                                UNITED STATES BANKRUPTCY COURT

                                                                                             9                                         DISTRICT OF NEVADA
                         1180 North Town Center Drive, Suite 100, Las Vegas, Nevada 89144




                                                                                            10       In re:                                      Case No. BK-S-16-16602-BTB
                               Telephone: (702) 720-3370 Facsimile: (702) 720-3371




                                                                                                                                                 Chapter 7
                                                                                            11       BRANDON MICHAEL D'HAENENS,
NELSON & HOUMAND, P.C.




                                                                                                                                                 NOTICE OF HEARING ON MOTION TO
                                                                                            12                      Debtor.                      APPROVE COMPROMISE PURSUANT
                                                                                                                                                 TO FEDERAL RULE OF BANKRUPTCY
                                                                                            13                                                   PROCEDURE 9019
                                                                                            14
                                                                                                                                                 Date of Hearing:     September 28, 2017
                                                                                            15                                                   Time of Hearing:     11:00 a.m.
                                                                                                                                                 Place: Courtroom No. 4, Second Floor
                                                                                            16                                                                        Foley Federal Building
                                                                                                                                                                      300 Las Vegas Blvd., S.
                                                                                            17                                                                        Las Vegas, NV 89101
                                                                                            18
                                                                                                                                                 Judge: Honorable Bruce T. Beesley1
                                                                                            19
                                                                                            20                NOTICE IS HEREBY GIVEN that the Motion to Approve Compromise Pursuant to

                                                                                            21   Federal Rule of Bankruptcy Procedure 9019 (the “Motion”) was filed by SHELLEY D. KROHN,

                                                                                            22   the Chapter 7 Trustee in the above-captioned bankruptcy case, by and through her counsel of

                                                                                            23   record, Victoria L. Nelson, Esq., Jacob L. Houmand, Esq. and Kyle J. Ortiz, Esq. of the law firm

                                                                                            24   of Nelson & Houmand, P.C.

                                                                                            25
                                                                                                 1
                                                                                            26    Unless otherwise indicated, all chapter and section references are to the Bankruptcy Code, 11
                                                                                                 U.S.C. §§ 101-1532, and to the Federal Rules of Bankruptcy Procedure, Rules 1001-9037. The
                                                                                            27   Federal Rules of Civil Procedure will be referred to as “FRCP” and the Federal Rules of
                                                                                                 Bankruptcy Procedure will be referred to as “FRBP.” The Local Rules of Practice for the United
                                                                                            28
                                                                                                 States Bankruptcy Court for the District of Nevada shall be referred to as the “Local Rules”.
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                                                                                             1          The Motion seeks an order approving a settlement agreement (the “Settlement

                                                                                             2   Agreement”) entered into between the Trustee and BRANDON MICHAEL D'HAENENS (the

                                                                                             3   “Debtor”) that resolves the dispute concerning the action captioned Half Dental Franchise, LLC

                                                                                             4   v. Bizzaro (Case No. A-15-722175-C) (the “Fraudulent Transfer Action”) pending in the Eighth

                                                                                             5   Judicial District Court and the Debtor’s homestead exemption pursuant to Federal Rule of

                                                                                             6   Bankruptcy Procedure 9019

                                                                                             7          Pursuant to Local Rule 9019(c), notice is hereby given that the terms of the Settlement

                                                                                             8   Agreement include the following:

                                                                                             9                  a.     In consideration of a resolution of the dispute concerning the Fraudulent
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                                                                                            10   Transfer Action and the Debtor’s homestead exemption, the Debtor shall pay the Trustee a lump-
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                                                                                            11   sum payment of $62,500 (the “Settlement Sum”).
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                                                                                            12                  b.     The Trustee, on behalf of the Debtor’s estate and any entity owned or

                                                                                            13   controlled by the Trustee in her capacity as such, whether now or hereafter, hereby fully releases

                                                                                            14   and discharges, to the maximum extent possible under applicable federal and state law: (a) the

                                                                                            15   Debtor; (b) Bizzaro; (c) Doty; (d) Simmons; and (e) all current and past affiliated entities of the

                                                                                            16   foregoing individuals, along with their respective relatives, members, managers, partners, limited

                                                                                            17   partners, officers, directors, owners, employees, agents, insurers, counsel, and predecessors and

                                                                                            18   successors (collectively, the “Released Parties”), from any and all potential or actual claims,

                                                                                            19   causes of action, derivative claims, debts, liabilities, obligations, contracts, agreements,

                                                                                            20   covenants, representations, warranties, expenses, and attorneys’ fees and/or costs, which the

                                                                                            21   Debtor’s bankruptcy estate now has, or ever has had, against the Released Parties, whether at law

                                                                                            22   or in equity, including, but not limited to, all claims that were asserted in (or could have been

                                                                                            23   asserted in) the Fraudulent Transfer Action.

                                                                                            24                  c.     The Debtor has agreed to release any and all claims against the Trustee.

                                                                                            25          The description of the Settlement Agreement set forth herein is a summary only and does

                                                                                            26   not modify or otherwise affect the terms of the Settlement Agreement. To the extent of any

                                                                                            27   conflict between the Settlement Agreement and the description set forth herein, the Settlement

                                                                                            28   Agreement shall control.

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                                                                                             1             A copy of the Motion, and the Declaration of Victoria L. Nelson In Support of Motion to

                                                                                             2   Approve Compromise Pursuant to Federal Rule of Bankruptcy Procedure 9019 are on file with

                                                                                             3   the Clerk’s Office of the United States Bankruptcy Court, 300 Las Vegas Blvd. South, Fourth

                                                                                             4   Floor, Las Vegas, Nevada 89101. Copies of the Motion and any supporting declarations may also

                                                                                             5   be obtained from counsel for the Trustee or through the Bankruptcy Court’s website at

                                                                                             6   www.nvb.uscourts.gov.

                                                                                             7             NOTICE IS FURTHER GIVEN that if you do not want the Court to grant the relief

                                                                                             8   sought in the Motion, or if you want the Court to consider your views on the Motion, then you

                                                                                             9   must file an opposition with the Court, and serve a copy of the person making the Motion no later
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                                                                                            10   than fourteen days before the hearing date. The opposition must state your position, set forth all
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                                                                                            11   relevant facts and legal authority, and be supported by affidavits or declarations that conform to
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                                                                                            12   Local Rule 9014(c).

                                                                                            13    If you object to the relief requested, you must file a WRITTEN response to this pleading

                                                                                            14    with the court. You must also serve your written response on the person who sent you this
                                                                                                  notice.
                                                                                            15
                                                                                                  If you do not file a written response with the court, or if you do not serve your written
                                                                                            16
                                                                                                  response on the person who sent you this notice, then:
                                                                                            17
                                                                                            18         •     The Court may refuse to allow you to speak at the scheduled hearing; and
                                                                                                       •     The Court may rule against you without formally calling the matter at the hearing.
                                                                                            19
                                                                                            20
                                                                                            21             NOTICE IS FURTHER GIVEN that the hearing on said Motion will be held before a
                                                                                            22   United States Bankruptcy Judge, in the Foley Federal Building, 300 Las Vegas Blvd. South,
                                                                                            23   Second Floor, Courtroom No. 4, Las Vegas, Nevada on September 28, 2017 at 11:00 a.m.
                                                                                            24   ...
                                                                                            25   ...
                                                                                            26   ...
                                                                                            27   ...
                                                                                            28   ...

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                                                                                             1          NOTICE IS FURTHER GIVEN that this hearing may be continued from time to time

                                                                                             2   without further notice except for the announcement of any adjourned dates and times at the

                                                                                             3   above-noted hearing or any adjournment thereof.

                                                                                             4          Dated this 28th day of August, 2017.

                                                                                             5                                                  NELSON & HOUMAND PC

                                                                                             6                                                  By: /s/ Jacob L. Houmand
                                                                                                                                                Victoria L. Nelson, Esq. (NV Bar No. 5436)
                                                                                             7                                                  Jacob L. Houmand, Esq. (NV Bar No. 12781)
                                                                                                                                                Kyle J. Ortiz, Esq. (NV Bar No. 14252)
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                                                                                            11                                                  Counsel for Shelley D. Krohn, Chapter 7 Trustee
NELSON & HOUMAND, P.C.




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